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                          Fellows ‐ Discovery Produced
Sent 2.26.21:




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Sent May 17, 2021:




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Sent via email August 18, 2021:

Cara

I sent you a USAfx link to Discovery 16 including this* and 2 official USCP videos. ALL of this will be
HIGHLY SENSTIVE.

Can you please send me the *grand jury material in Brandon Fellows’ case? I looked through the
discovery already provided and did not see it (though if I’m missing it, let me know what date it was
sent!).

Best,

Cara

Sent Sept. 11, 2021 Global Discovery 1:

As part of our ongoing discovery production and responsibility in this case, you will receive an invitation
via USAFx to download reports from U.S. Capitol Police (USCP) investigations of alleged wrongdoing by
USCP officers on January 6, 2021. Officer names, witness names, and complainant names have been
redacted. We are working to produce a set of reports that replaces the redactions with unique
identifiers for individuals whose names have been redacted. When that process is complete, we will
reproduce the documents with the unique identifiers. Additional exhibits from these investigations are
forthcoming. At this time, we understand that a small number of investigations are still on‐going, and
we will provide reports of those investigations on a rolling basis as they are concluded.




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Sent Sept. 27, 2021 (Discovery 18) Global Discovery 2




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Letter Sent October 5, 2021 Global Discovery 3 – Letter sent to counsel; Letter October 6th to Def.
Letter was returned (Discovery 19):




Sent October 15, 2021 Global Disc. 4

        Per FPD the items not sensitive nor highly sensitive were put on a USB through Global Discovery
4and hand delivered to the jail. Items on the USB included all prior items not sensitive nor highly
sensitive.




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Sent Dec. 9, 2021 to USAO to be hand delivered (including Discovery 20‐26, some of which was
returned to the USAO after mailing):

Tik Tok and Global discovery (non evid.com and non HS), motions etc




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Sent December 16, 2021:
•        A letter to the Court dated December 13, 2021 updating the Court on the status of the
requested contact lenses and discovery production;
•        A scanned document from the jail indicating your refusal to accept a laptop with a CD and a
thumb drive;
•        10 redacted CTF Legal Mail Signature Forms from October 28, 2021 to December 7, 2021;
•        A redacted version of Serial 8 from the FBI Investigation Report which contains the FBI Form 302
of an interview with a tipster and 3 attachments to that interview;

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•       Serial 9 from the FBI Investigation Report which contains your criminal history;
•       Serial 22 from the FBI Investigation Report which contains an FBI Form 302 and a Pen
Register/Trap Trace from the United States District Court for the Northern District of New York (Matter
Number MDJS‐254);
•       A redacted version of Serial 29 from the FBI Investigation Report which contains the MXU report
with the tip information and subsequent follow‐up;
•       A redacted versions of Serial 30‐32 from the FBI Investigation Report which contain interviews
of witnesses; and
•       Serial 55 of the FBI Investigation Report which contains the FBI Form 302 regarding a TikTok
video posted on your account post‐arrest. (The TikTok video itself will be delivered via storage media
device and routed through the jail’s procedure for providing electronic discovery to defendants).




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